Case 1:03-cr-00777-DGT   Document 72   Filed 01/31/06   Page 1 of 6 PageID #: 36




                                              s/David G. Trager
Case 1:03-cr-00777-DGT   Document 72   Filed 01/31/06   Page 2 of 6 PageID #: 37
Case 1:03-cr-00777-DGT   Document 72   Filed 01/31/06   Page 3 of 6 PageID #: 38
Case 1:03-cr-00777-DGT   Document 72   Filed 01/31/06   Page 4 of 6 PageID #: 39
Case 1:03-cr-00777-DGT   Document 72   Filed 01/31/06   Page 5 of 6 PageID #: 40
Case 1:03-cr-00777-DGT   Document 72   Filed 01/31/06   Page 6 of 6 PageID #: 41
